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11
                              IN THE UNITED STATES DISTRICT COURT
12
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                                         SACRAMENTO DIVISION
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16   RALPH COLEMAN, et al.,                                  2:90-cv-00520 KJM-DB (PC)

17                                Plaintiffs, DECLARATION OF N. WEBER IN
                                              SUPPORT OF DEFENDANTS’ BRIEF
18             v.                             ON OBSTACLES TO FULL
                                              COMPLIANCE WITH PROGRAM
19                                            GUIDE TRANSFER TIMELINES FOR
     EDMUND G. BROWN JR., et al.,             CRISIS BEDS
20
                                          Defendants.
21

22

23          I, Nicholas Weber, declare:

24          1.   I am an attorney with the Office of Legal Affairs for the California Department of

25   Corrections and Rehabilitation (CDCR). I am competent to testify to the matters set forth in this

26   declaration and if called upon to do so, I would and could so testify. I make this declaration in

27   support of Defendants’ Brief on Obstacles to Full Compliance with Program Guide Transfer

28   Timelines for Crisis Beds.
                                                         1
                  Decl. of N. Weber in Supp. Defs.’ Brief on Transfers to Crisis Beds (2:90-cv-00520 KJM-DB (PC))
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 1          2.   On June 23, 2017, I sent by electronic mail Defendants’ Plan for Referrals and

 2   Transfers to Mental Health Crisis Beds to the Special Master and Plaintiffs. A true and correct

 3   copy of the plan is attached as Exhibit 1.

 4          3.   On July 6 and 19, 2017, I received responses from Plaintiffs to Defendants’ Plan for

 5   Referrals and Transfers to Mental Health Crisis Beds. True and correct copies of Plaintiffs’ July

 6   6, 2017 letter and July 19, 2017 electronic mail to Defendants are attached as Exhibit 2.

 7          4.   On July 21, 2017, I sent a letter and enclosures to Plaintiffs addressing the issues

 8   raised in their July 6 and 19 communications, and provided additional data for discussion in the

 9   all parties workgroup. A true and correct copy of my July 21, 2017, letter is attached as Exhibit 3.

10          5.   At the July 24, 2017 workgroup, Plaintiffs requested additional data on Defendants’

11   initiatives to address delays in transfers to crisis beds. In response, on August 2, 2017, I sent

12   Plaintiffs and the Special Master a letter addressing Plaintiffs’ concerns, and provided a

13   description of initiatives that are directed at resolving delays in transfers to crisis beds and

14   additional data Plaintiffs requested. A true and correct copy of the letter I sent on August 2, 2017

15   and enclosed data is attached as Exhibit 4.

16          6.   On August 18, 2017, CDCR produced an initial outline of the factors that contribute

17   to delays in timely transfers to crisis beds and the solutions CDCR has implemented or will

18   implement to address those factors. A true and correct copy of the outline is attached as Exhibit 5.

19          7.   On August 25, 2017, I sent to Plaintiffs and the Special Master an updated outline of

20   the factors that contribute to delays in timely transfers to crisis beds and documents that illustrate

21   the complexity in the Mental Health Crisis Bed system and referral process. A true and correct

22   copy of Defendants’ submission is attached as Exhibit 6.

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                                                          2
                   Decl. of N. Weber in Supp. Defs.’ Brief on Transfers to Crisis Beds (2:90-cv-00520 KJM-DB (PC))
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 1          8.   Each month, CDCR provides several reports to the Special Master for the purposes of

 2   his monitoring. Attached as Exhibit 7 are true and correct copies of Reports 7 a (Psych Aging

 3   report) and 7c (MHCB transfers and rescissions for June 2017) submitted as part of the Coleman

 4   Data Submission to the Special Master and Plaintiffs.

 5        I declare under penalty of perjury under the laws of the United States of America that the

 6   foregoing is true and correct. Executed in Sacramento, California on September 13, 2017.

 7
                                                             _/s/ Nicholas Weber __________________
 8                                                           NICHOLAS WEBER
 9                                                           Attorney
                                                             CDCR Office of Legal Affairs
10                                                           (original signature retained by attorney)

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                  Decl. of N. Weber in Supp. Defs.’ Brief on Transfers to Crisis Beds (2:90-cv-00520 KJM-DB (PC))
